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                                                  SENTENCING MINUTES

 Date: 11/22/2019                                                              Judge:               T.S. ELLIS III
                                                                               Reporter:            P. Kaneshiro-Miller
                                                                               Time:                11:31 a.m. – 12:31 p.m.
                                                                                                    2:05 p.m. – 2:29 p.m.
                                                                                                    ( 01:24 )
                                                                               Case Number:         1:18-cr-00089-TSE-1

     UNITED STATES OF AMERICA                                        Counsel/Govt: Adam Small, William Hammerstrom

                       v.

        JERRY CHUN SHING LEE                                         Counsel/Deft: Nina Ginsberg, Edward MacMahon


Court adopts PSI ( X )                 without exceptions (   )               with exceptions:

 SENTENCING GUIDELINES:
 Offense Level: 39
 Criminal History: I
 Imprisonment Range: 262 to 327 months
 Supervised Release Range: 2 to 5 years
 Fine Range: $50,000 to $250,000
 Restitution $N/A
 Special Assessment $100

       Defense objects to the probation officer’s assessment in the PSR on the 2-level enhancement for an abuse of trust -
        Objection Overruled.

JUDGMENT OF THE COURT:
    BOP for 19 years

       Supervised Release for 5 Years, with special conditions: all employment must be approved in advance by the USPO;
        provide the PO access to any requested financial information; perform 30 hours of community service devoted to
        speaking or writing to the appropriate population on what you did and why and the consequences.

       No punitive fines imposed.

       Special Assessment $100

       Defense requested defendant be housed at the Alexandria Detention Center for a period of 30 days before being
        transferred to the designated FCI in Southern California – GRANTED.


RECOMMENDATIONS to BOP:
 X    Dft. To be designated to: FCI Terminal Island in Southern California to be near his family.
      Dft. designated to facility to participate in ICC (Boot Camp) type program
      Dft. to participate in 500 hr Residential Drug Abuse Treatment Program (RDAP)
      Other:


Deft: ( X ) Remanded        (   ) Cont’d on Bond to Self-Surrender    (   ) Referred to USPO        (   ) Immediate Deportation
